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ANIKA RAHAM, - DJOMSM.
Plaintiff, - - »':"-.1 irH/$PHS

"- No: macst \/
nozELLE BLANCHARD, individuany,

The CI'I'Y OF MEMPHIS and MEMPHJS
CI'I`Y SCHOOLS.

Defendant,

 

ORDER OF DISMISSAL WITH PREJUDICE

 

Upon Stipulation of Dismissal submitted by the parties, pursuant to FRCP 41(a), it is
hereby,
ORDERED,matthe complaint filedbythc Plainu'tfinthis matter is dismissed with

prejudice

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Honorable Diane VeScovo
US DISTRICT COURT

